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IN THE UNITED sTATEs BANKRUPTCY CO;URI j, _j _/ .. _,
FoR THE DISTRICT oF CoLoRAI)o - ~ ~ ~» 3 '

ln re: Bankruptcy No. 10-30894 SBB
Chapter 7

GARY DAVID HAUCK, XXX-XX-3149

BRENDA KAY HAUCK, XXX-XX-OSIZ Adversary Proceeding No.

Debtors, 10-01888-SBB

V.

STEPHANIE M. MARTIN,
Plaintiff,

vs.

GARY DAVID HAUCK, and
BRENDA KAY HAUCK.
Defendants.

 

NOTICE OF FILING OF CORRECTED BRIEF

 

Plaintiff, Stephanie M. Martin, by and through her counsel, Murray & Darnschen, P.C.,
and hereby respectfully submits her Notice of Filing of Corrected Brief With regard to Plaintiff’s
Motion For Summary Judgment Re: lssue Of Nondischargeability, stating therefore as follows:

l. On August 15, 2011 Plaintiff filed her Motion for Sumrnary Judgment regarding
the issue of nondischargibility.

2. On September 9, 2011, Defendants counsel, Kem' J. Atencio, Esq. of Roberts,
Levin & Rosenberg, contacted the undersigned counsel and indicated that the copy of the Motion
she had received indicated that the text pleading contained several footnotes, but that no

footnotes Were actually found on the various pages Where footnotes Were indicated The

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undersigned determined that, for some unknown reason, the computerized file on counsel’s
computer does contain the footnotes, but the printout both filed With the court and provided to
counsel did not contain the text of the footnotes.

3. The undersigned counsel did provide a corrected copy of the pleading to the
Defendant’s counsel immediately upon learning of the printing error.

4. Attached hereto is a copy of the brief containing the text of the footnotes that Was
omitted from the prior filing. Those footnotes primarily reference the exhibits that Were in fact

filed With the original Motion.
5. As the text of the footnotes is minimal, and primarily references the attachments

that Were filed With the original copy of the Motion, no party should be prejudiced by the filing

of this corrected Motion.

Respectfully submitted this 13th day of September, 2011.

WEN, P..C

s/Terrence P Murrav

Terrence P. Murray, Esq.

CO Bar No. 16127

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CERTIFICATE OF SERVICE

I hereby certify that l served the foregoing document by transmitting a true copy thereof
via USPS to the following on this 13th day of September, 2011.

Kerri J. Atencio, Esq.

ROBERTS, LEVIN, ROSENBERG
1660 Wynkoop Street, Ste. 800
Denver, CO 80202

Atlorneysfor Defendams

 

on file at the law firm of Murrav & Damschen, P.C.

 

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

ln re: Bankruptcy No. 10-30894 SBB
Chapter 7

GARY DAVID HAUCK, XXX-XX-3149

BRENDA KAY HAUCK, XXX-XX-0812 Adversary Proceeding No.

Debtors, 10-01888-SBB

V.

STEPHANIE M. MARTIN,
Plaintiff,

vs.
GARY DAVID HAUCK, and
BRENDA KAY HAUCK.
Defendants.

 

PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
RE: ISSUE OF NONDISCHARGEABILITY WITH SUPPORTING AUTHORITY

 

COMES NOW the Plaintiff, Stephanie M. Martin, by and through her counsel, Murray &
Damschen, P.C., and hereby respectfully submits her Motion For Summary Judgment Re: lssue
Of Nondischargeability With Supporting Authority:

I. _INTRODUCTION
Plaintiff filed this adversarial proceeding seeking an order from this court declaring that

her claim against Debtors is exempt from discharge pursuant to the provisions of 11 U.S.C. §

 

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523(a)(2), (4) and (6). Plaintiff respectfully submits that, pursuant to FRCP 56, there is no
genuine issue of material fact and, therefore, Plaintiff is entitled to judgment as a matter of law.l
II. LEGAL STANDARD

Pursuant to FRCP 56, a court shall grant summary judgment if the movant shows that
there is no genuine dispute as to any material fact and the movant is entitled to judgment as a
matter of law. Summary judgment under Rule 56 is proper if the pleadings, depositions, answers
to interrogatories, and admissions on file, together with the affidavits, if any, show that there is
no genuine issue as to any material fact and that the moving party is entitled to a judgment as a
matter of law. Celotex Corp. V. Catrett, 477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986).

In the instant case, it is undisputed that Plaintiff has previously obtained a judgment
against Debtors in the District Court of Jefferson County, Colorado. For the reasons set forth
below, Plaintiff respectfully submits that this state court judgment should be deemed to be
preclusive with regard to the issue of dischargeability, thus entitling Plaintiff to judgment as a
matter of law.

III. FACTUAL BACKGROUND
On July 20, 2007, Plaintiff filed a civil action in the District Court of Jefferson County,

Colorado, (“State Action”) against Debtors alleging fraud and civil theft in connection with

 

lBy Order dated July 26, 2011, this Court ordered the parties to submit cross motions for
summary judgment on the issue of dischargeability

 

 

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Debtors’ purchase from Plaintiff in 2006 of a home located in Lakewood, Colorado (“Home”).2
In her First Amended Complaint filed on December 21, 2007, Plaintiff asserted claims for
Extreme and Outrageous Conduct, Deceit Based on Fraud, Civil Conspiracy, and Civil Theft
Pursuant to C.R.S.l § 18-4-401. Plaintiff also requested that a Constructive Trust be imposed on
the Home.3 On March 25, 2009, Plaintiff filed a Motion For Entry Of Default Judgment in the
State Action. On April 30, 2009, the Court in the State Action entered judgment in favor of
Plaintiff and against Debtors, jointly and severally, in the amount of 51`1516,520.30.4

On July 14, 2009, Debtors filed a Motion to Vacate Judgment and Set Aside Default in
the State Action. On August 3, 2009, the Court in the State Action entered an order granting
Debtors’ Motion, and on August 12, 2009, Debtors filed their Answer in the State Action. The
State Action was subsequently set for a five-day jury trial commencing on August 16, 2010.

On May 6, 2010, Plaintiff, Debtors and their respective legal counsel attended a
settlement conference presided over by a retired Colorado district court judge, the Hon. Kim H.
Goldberger. At the settlement conference, a settlement was reached pursuant to which Debtors
stipulated to the entry of a judgment against them, jointly and severally, in the amount of

$200,000.00 on Plaintiff s claims for deceit based on fraud and civil theft pursuant to C.R.S. §

 

2A copy of the Lexis Case History Search relating to the underlying State Action,

Stephanie M. Martin v. Gary D. Hauck and Brenda K. Hauck, Civil Action No. 07-CV-2646 is
attached hereto as Exhibit A.

3A copy of the First Amended Complaint filed in the State Action is attached hereto as
Exhibit B.

4A copy of the April 30, 2009 Judgment entered in the State Action is attached hereto as
Exhibit C.

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18-4-401 as stated in Plaintiff s First Amended Complaint and Jury Demand dated December 21,
2007.5 On May 14, 2010, the Court in the State Action entered judgment in accordance With the
stipulation of the parties.6

On August 17, 2010, Debtors filed their Voluntary Petition seeking relief under Chapter
7. On November 12, 2010, Plaintiff commenced the instant adversarial proceeding seeking an
order declaring that Plaintiff’ s claims against Debtors are nondischargeable pursuant to the
provisions of 11 U.S.C. § 523(a)(2), (4) and (6).

III. ARGUMENT
A. As They Relate T0 The Question Of Nondischargeability,
The Issues In The Colorado State Court Action And
The Instant Adversarial Proceeding Are Identical

In this adversarial proceeding, Plaintiff seeks a judicial determination from this Court that
Plaintiffs state court claims and resultant judgment are nondischargeable under 11 U.S.C. § 523
by operation of the doctrine of collateral estoppel (or issue preclusion). ln determining whether
the judgment in the State Action is to be give preclusive effect, this Court must determine
whether the issues adjudicated in the Colorado state court proceeding are identical to the issues
in this adversarial proceeding For the reasons set forth below, Plaintiff respectfully submits that

there is in fact an “identity of issues” in the two proceedings and that, for this reason, there is

 

5A copy of the May 6, 2010 Stipulation is attached hereto as Exhibit D.

6A copy of the May 14, 2010 Judgment entered in the State Action is attached hereto as
Exhibit E.

 

 

 

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nothing left for this -Court to examine other than the question of whether the remaining
requirements for issue preclusion have been satisfied.

Section 523(a)(2)(A) of the Bankruptcy Code provides, in pertinent part, that a discharge
under § 727, 1141, 1228(a), 1228(b) or 1328(b) of Title 11 does not discharge an individual
debtor from any debt “for money, property, services, or an extension, renewal, or refinancing of
credit, to the extent obtained by (A) false pretenses, a false representation, or actual fraud, other
than a statement respecting the debtor’s or an insider’s financial condition ...” To prevail in a §
523(a)(2)(A) action, a Plaintiff must establish the traditional aspects of common law fraud: (l)
the debtor made a false representation to deceive the creditor; (2) the creditor relied on the
misrepresentation; (3) the reliance was j ustified; and (4) the creditor sustained a loss as a result
of the misrepresentation ln re Bilzerian, 153 F.3d 1278, 1281 (llth Cir. 1998). The creditor must
establish each of the elements of fraud by a preponderance of the evidence. Grogan v. Garner,
498 U.S. 279, 291 (1991).

In her Second Claim For Relief contained in her First Amended Complaint filed in the
state court proceeding, Plaintiff asserted a claim under Colorado law for “deceit based on fraud”.
Specifically, the Second Claim For Relief alleged that Debtors, and each of them, made a
representation of a past or present fact(s); that the fact(s) was material; that at the time the
representation(s) was made, Debtors, and each of them, knew the representation was false; that
Debtors made the representation(s) with the intent that Plaintiff would rely on the

representation(s); that Plaintiff relied upon the representation(s); that Plaintiff’s reliance was

justified; and that such reliance has caused injuries and damages to Plaintiff. By virtue of

 

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stipulating to the entry of judgment on this fraud-based claim, Debtors admitted that the
allegations contained in this claim for relief - which are essentially identical to the required
elements in ln re Bilzerian, supra - had been established As a result, the Colorado state court
judgment establishes the requisite elements of nondischargeability pursuant to § 523(a)(2)(A) for
any debt for money obtained by “false pretenses, a false representation, or actual fraud ...”

Section 523(a)(4) of the Bankruptcy Code provides, in pertinent part, that a discharge
under section 727, 1141, 1228(a), 1228(b) or 1328(b) of Title 11 does not discharge an
individual debtor from any debt “for fraud or defalcation while acting in a fiduciary capacity,
embezzlement, or larceny ...” F or purposes of § 523(a)(4), a bankruptcy court is not bound by
the state law definition of larceny but, rather, may follow federal common law, which defines
larceny a “felonious taking of another person’s property with intent to convert it or deprive the
owner of the same.” 4 Collier on Bankruptcy 11 523.10[2] (15th ed. Rev. 2008).

In the Fourth Claim For Relief contained in her First Amended Complaint filed in the
state court proceeding, Plaintiff asserted a claim for “civil theft” pursuant to C.R.S. § 18-4-401.
Specifically, the Second Claim For Relief alleged that Debtors, and each of them, “knowingly
obtained title to, and exercised control over, Plaintiff’s [home] and Plaintiff’s equity in the
[home] by deception, and intended to permanently deprive Plaintiff of the use or benefit of the
[home] and Plaintiffs equity in the [home].” As with the Second Claim For Relief based on
“fraud by deceit”, Debtors, by virtue of stipulating to the entry of judgment on Plaintiff s claim
based on “civil theft” pursuant to C.R.S. § 18-4-401, admitted that the allegations contained this

claim for relief - which are essentially the requirements for “larceny” under federal common law

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- had been established As a result, the Colorado state court judgment establishes the requisite
elements of nondischargeability pursuant to Section 523(a)(4) for any debt for “larceny.”

For the reasons set forth above, it is clear that the issues in the Colorado state court
proceeding were identical to those presented in the instant adversarial proceeding ln the state
court proceeding, Debtors stipulated to entry of a judgment against them, jointly and severally,
on claims for “deceit based on fraud” and “civil theft” under Colorado law, claims whose
requisite elements are identical, or substantially identical, to the requisite elements for debts for
money or property obtained by “false pretenses, a false representation, or actual fraud” under §
523(a)(2)(A), as well as for debts for “larceny” under § 523 (a)(4). Thus, Plaintiff has
established the elements of nondischargeability required pursuant to § 523(a)(2)(A) and (a)(4).7

B. Collateral Estoppel Under Colorado Law

Although the bankruptcy courts retain exclusive jurisdiction to determine whether a debt
is non-dischargeable under 11 U.S.C. § 523(a)(2) and 523(a)(4), the doctrine of collateral
estoppel may be invoked to bar relitigation of factual issues determined in a prior judgment
See: ln re Wallace, 840 F.2d 762, 764 (10th Cir. 1988). ln determining whether a prior state
court judgment is to be given preclusive effect, a bankruptcy court must look to the preclusion
law of the state in which the judgment was rendered In re Sukut, 357 B.R. 840 (Bankr. D. Colo.

2006). Since Plaintiff obtained her judgment in a Colorado state court, this Court must apply

 

7As noted in her Complaint Objecting to Discharge, Plaintiff has asserted that a discharge
should be denied on the basis of subsections (a)(2)(A), (4) and (6) of Section 523. While
Plaintiff has relied upon subsection (6) in her Complaint, the instant Motion for Summary l
Judgment is directed only at the provisions subsections (a)(2)(A) and (4), either of which, in
Plaintiff’ s view, support a finding that Plaintiff’ s claims are not subject to discharge.

 

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Colorado law to determine whether the judgment is to be given preclusive effect with regard to
the issue of non-dischargeability

ln Bebo Conslr. Co. v. Mattox & O’Brien, P.C., 990 P.2D. 78 (Colo. 1999), the Colorado
Supreme Court set forth the four requirements which must be met for collateral estoppel (or issue
preclusion) to apply: (1) the issue to be precluded is identical to an issue actually litigated and
necessarily adjudicated in the prior proceeding; (2) the party against whom estoppel is sought
was a party to or was in privity with a party in the prior proceeding; (3) there was a final
judgment on the merits in the prior proceeding; and (4) the party against whom the doctrine is
asserted had a full and fair opportunity to litigate the issues in the prior proceeding Id. at 84-85.
ln the instant case, it is clear that the second (identity of parties) and third (finality of judgment)
elements of the Bebo test have been satisfied; accordingly, this Court must determine whether
the first and fourth elements have likewise been satisfied

1. The Issue To Be Precluded Was Actually Litigated
In The Prior Proceeding

F or an issue to be actually litigated for purposes of collateral estoppel, the issue must
have been pled in the prior claim and a determination on that issue must have been necessary to
the prior judgment Bebo, supm, at 85. ln a dischargeability proceeding, a consent judgment or
stipulation and agreement entered as a court order can be a final adjudication on the
dischargeability issue and have collateral estoppel effects on a bankruptcy court. ln re Austin, 93
B.R. 723 (Bankr. D. Colo. 1988). ln a dischargeability proceeding, the focus is placed on
whether the debtor had an opportunity to present his case or to litigate the relevant issues. ld. at

727. The issue need not be actually and fully tried, provided the dispute proceeded through all

 

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phases of litigation appropriate to the case, while providing full and fair protection of litigants’
rights. Id. See also ln re Riggle, 389 B.R. 167 (Bankr. D. Colo. 2007).

The bankruptcy court should look beyond the state court judgment to the entire record
from the state proceeding to ensure that all issues to be given preclusive effect have been actually
litigated and presented ln re Dunston, 146 B.R. 269 (D. Colo. 1992). Where the party seeking
to apply collateral estoppel presents evidence that the parties engaged in a “meaningful
assessment of the facts” and then the defendant made a “conscious choice not to contest the entry
of j udgment”, a court may appropriately find the issue was actually litigated ln re Sukul, 357
B.R. 834, 839 (Bankr. D. Colo. 2006); Riggle, supra, at 175.

iv ln a foregoing section of this memorandum, Plaintiff has established the “identity of
issue” requirement for application of collateral estoppel. In the instant case, it is also clear that
the “actually litigated” requirement has been met. ln their First Amended Complaint filed in
state court on December 21, 2007, Plaintiff asserted various claims for relief against Debtors,
including a claim for deceit based on fraud, and a claim for civil theft pursuant to C.R.S. § 18-4-
401. By Order dated April 30, 2009, Judge Lily W. Oeffler entered default judgment against
Debtors, jointly and severally, in the amount of $5 16,520.30; said judgment included treble
damages as provided for by C.R.S. 18-4-401. On July 14, 2009, however, Debtors, through
counsel, filed a motion for relief from the April 30, 2009 default judgment, and the motion was

briefed extensively by the parties. By Order dated August 3, 2009, Judge Oeffler set the default

judgment aside.

 

 

 

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On May 6, 2010, the parties, represented by counsel, attended a settlement conference
with a retired Colorado state court judge, Kim H. Goldberger, at the offices of Debtors’ legal
counsel. At the conclusion of the settlement conference, the parties and their respective counsel
signed a Stipulation in which Debtors ~ again, represented by counsel - agreed to the entry of
judgment against them, jointly and severally, and in favor of Plaintiff, in the reduced amount of
$200,000.00, said judgment being based upon Plaintiff s Second Claim For Relief, Deceit Based
On Fraud, and Fourth Claim For Relief, Civil Theft pursuant to C.R.S. § 18-4-401.

The instant case is distinguishable from those cases, such as In re Rigg]e, and In re Sukut,
in which a court refused to provide preclusive effect to a default judgment on the issue of non-
dischargeability ln neither of these cases was there evidence that the debtor had engaged in a
“meaningful assessment” of the facts and made a “conscious choice” not to contest the entry of

judgment; in the instant case, by contrast, Debtors, after retaining counsel and successfully

 

setting aside the default judgment entered against them, agreed to the entry of a fraud-based
judgment against them at the conclusion of a settlement conference at which they were
represented by counsel. Accordingly, it is clear that the “actually litigated” requirement of the

Bebo test has been satisfied

2. Debtors Had A Full And Fair Opportunity
To Litigate The lssue in the State Action

On the basis of the analysis set forth above, it is clear that the first three of the four required
elements for application of collateral estoppel under Colorado law have been met. Plaintiff
respectfully submits that Debtors had a full and fair opportunity to litigate the issue in the State

Action, thus satisfying the fourth requirement for issue preclusion under Colorado law.

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As reflected in the Lexis Case History Search relating to the underlying State Action,
approximately two and one half years transpired between the filing of Plaintiffs First Amended
Complaint in December of 2007 and the entry of the stipulated judgment in May of 2010. During
that period of time, Debtors clearly had a "full and fair opportunity" to litigate the issue in the
State Action. While the courts in In re Sukut and In re Riggle, supra, declined to give the
underlying judgments at issue in those cases preclusive effect, the debtor in both of those cases
essentially refused to participate in the underlying action. In the instant case, by contrast, Debtors
took affirmative steps to protect their interests before stipulating to the entry of the May 14, 2010
judgment in the State Action. lndeed, the May 14, 2010 judgment was the second judgment
entered against Debtors in the State Action. After the initial default judgment was entered against
Debtors on April 30, 2009, Debtors directed their counsel to move to set aside the judgment and,
by order dated August 3, 2009, the Court agreed to do so. Approximately three months before
the scheduled trial date, Debtors, with the advice of counsel, elected to stipulate to the entry of a
judgment against them. Some nine months transpired between the setting aside of the default
judgment and the settlement conference which resulted in the stipulation; during that time,
Debtors clearly engaged in a "meaningful assessment" of the facts and made a "conscious
choice" not to contest the entry of a judgment against them in an amount significantly less than

the default judgment previously entered against them.

While the Tenth Circuit in Nz'chols v. Board of Counly Commissz`oners, 506 F. 3d 962

(10th Cir. 2007) declined to provide preclusive effect to a consent judgment, Plaintiff submits

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that Nichols is distinguishable on its facts. As a threshold matter, it should be noted that Nl`chols
did not address the issue of nondischargeability in a bankruptcy proceeding Moreover, and more
importantly, the settlement at issue in Nl`chols was entered into by a third party and La Plata
County, not the landowners who sought to have the settlement accorded preclusive effect. Thus,
in Nichols, the court did not examine whether the parties to the stipulation engaged in a
"meaningful assessment" of the facts and made a "conscious choice" not to contest the entry of

judgment

ln conclusion, it is clear that, in the instant case, Debtors had a "full and fair
opportunity" to litigate the issue in the State Action. Debtors successfully moved to have an
earlier default judgment against them Set aside, reflecting a clear intention to protect their
interests in the litigation. Thus, the fourth and final requirement for issue preclusion under
Colorado law has been satisfied

IV. CONCLUSION

For the reasons set forth above, Plaintiff respectfully submits that there is no genuine
issue of material fact and that she is entitled to judgment as a matter of law. Debtors clearly
engaged in a "meaningful assessment" of the facts and made a "conscious choice" to allow the
judgment to enter against them in the State Action. lnasmuch as the requirements for issue
preclusion under Colorado law have been met Plaintiff is entitled to an order pursuant to FRCP
56 declaring that Plaintiffs claims are exempt from discharge under ll U.S.C. Section 523(a)(2)

and (a)(4).

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WHEREFORE, Plaintiff respectfully moves the Court foran order pursuant to

FRCP 56 declaring that her claims are exempt from discharge pursuant to ll U.S.C. Section

523(a)(2) and (a)(4).

Respectfully submitted this 15th day of August, 2011.

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MURRAY & DAl\/ISCHEN, P.C.

s/Terrence P. Murray
Terrence P. Murray, Esq.

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CERTIFICATE OF SERVICE

I hereby certify that l served the foregoing document by transmitting a true copy thereof
via USPS to the following on this 15th day of August, 2011.

Kerri J. Atencio, Esq.

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Attorneysfor Defendams

Original sig¢(?Ge Terrence P. Murray
on file at the aw firm of Murray & Damschen, P.C.

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